      Case 3:16-cv-05884-LB        Document 28-1         Filed 04/13/17       Page 1 of 2




                Attachment A to Facebook’s Motion to Compel:
                               Metadata Fields Requested


              Metadata Field                                  Description

1.     BegDoc                      Starting Bates number (including prefix), no spaces

2.     EndDoc                      Ending Bates number (including prefix), no spaces

3.     BegAttach                   Starting Bates number of parent in a family group (only populate
                                   this field if the document is part of a family)

4.     EndAttach                   Ending Bates number of last attachment (only populate this field
                                   if the document is part of a family)

5.     Organization                Organization where data was collected from

6.     Volume                      Production volume number (ex: VOL001)

7.     Custodian                   Custodian/source (format: last, first OR ABC Dept)

8.     Author                      Creator of the document

9.     To                          Recipient (last name, first name)

10.    From                        Author (last name, first name)

11.    CC                          Carbon copy recipients (last name, first name)

12.    BCC                         Blind carbon copy recipients (last name, first name)

13.    Email Subject               Subject line of the email message

14.    Subject                     Subject /document title

15.    Date Created                Date created

16.    Date Last Modified          Date last modified

17.    Date Sent                   Date sent



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      Case 3:16-cv-05884-LB      Document 28-1          Filed 04/13/17            Page 2 of 2




18.    Date Received             Date received

19.    MailStore                 Name of the email file (ex: custodian name.pst)

20.    MSGHEADER                 Content of email message header

21.    MSGCLASS                  Exchange message class or equivalent

22.    CONVINDEX                 Conversation index (email system ID used to track replies,
                                 forwards, etc.)

23.    File Name                 File name of file as it appeared in its original location

24.    Application               Application used to create the native file (ex: Microsoft Office
                                 Word)

25.    File Extension            File extension for the file (ex: .doc, .pdf)

       Record Type               Use the following choices: Image, Loose Email, Email, EDoc,
26.                              Image Attachment, Loose Email Attachment, Email Attachment,
                                 Edoc Attachment (populate this field for every document)

27.    File Size                 Native file size in bytes

28.    MD5 Hash                  MD5 Hash value used for de-duplication (email hash values must
                                 be run with the email and all its attachments)

29.    Page Count                Number of pages in a document

30.    Comments                  Comments from the body of the file

31.    FilePath (also known as   Relative file path location to the native file
       “Nativelink”)


32.    Extracted Text            Relative file path of the text file associated with either the
                                 extracted text or OCR




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